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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                   September 18, 2024
                   IN THE UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

JOANNA BURKE,                                  §
     Plaintiff,                                §
                                               §
v.                                             §
                                               §           Civil Action No. 4:24-CV-0897
                                               §
PHH MORTGAGE CORPORATION,                      §
    Defendant.                                 §

                                          ORDER

       Plaintiff filed this case in state court on December 21, 2023. ECF 1-4 at 2.

Defendant PHH Mortgage Corporation (PHH) removed the case and the Court

denied Plaintiff’s Motion to Remand. ECF 18. This case is the most recent of many

cases that Plaintiff has filed over the past several years to thwart foreclosure

proceedings on real property located in Fort Bend, County, Texas.1 Id. at 2. On

August 5, 2024, PHH filed a Motion for Summary Judgment (ECF 27) and Motion

to Declare Plaintiff Joanna Burke as a Vexatious Litigant (ECF 28). Plaintiff’s

Responses were due on August 26, 2024. On August 27, 2024, Plaintiff filed a

Verified Motion for an Extension of Time seeking a 60-day extension of time to

respond due to “ongoing and debilitating symptoms as a result of [Hurricane] Beryl,”



1
 The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 26.
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which caused Plaintiff to lose power from July 7, 2024 to July 16, 2024. ECF 29.

PHH is opposed to a 60-day extension of time due to Plaintiff’s extensive litigation

history and pattern of delay but does not oppose a short extension of time. ECF 30.

It is therefore

       ORDERED that Plaintiff’s Motion for an Extension of Time (ECF 29) is

GRANTED IN PART AND DENIED IN PART. It is further

       ORDERED that Plaintiff’s Responses to the pending Motion for Summary

Judgment (ECF 27) and Motion to Declare Plaintiff a Vexatious Litigant (ECF 28)

are due on or before October 7, 2024. Replies will be due 14 days after Responses

are filed.




 Signed on September 18, 2024, at Houston, Texas.



                                                          Christina A. Bryan
                                                     United States Magistrate Judge
